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Supreme Court of the United States
Office of the Clerk
Washington, DC 20543-0001

Scott S. Harris
Clerk of the Court

June 12, 2024 (202) 479-3011

Clerk

United States Court of Appeals for the Fifth Circuit
600 S. Maestri Place

New Orleans, LA 70130

Re: Nuclear Regulatory Commission, et al.
v. Texas, et al.
No. 23-1300
(Your No. 21-60743)

Dear Clerk:

The petition for a writ of certiorari in the above entitled case was filed on June
12, 2024 and placed on the docket June 12, 2024 as No. 23-1300.

Sincerely,
Scott S. Harris, Clerk
by

Rashonda Garner
Case Analyst

